                                                     Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 1 of 6



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                                                Counsel for Plaintiffs Tech
                                           13   Data Corporation and Tech Data Product
                                                Management, Inc.
                                           14

                                           15   [Additional counsel listed on signature page]

                                           16                               UNITED STATES DISTRICT COURT
                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                           17                                 (SAN FRANCISCO DIVISION)
                                           18      In re: CATHODE RAY TUBE (CRT)                Master File No. 07-5944 SC (N.D. Cal.)
                                           19      ANTITRUST LITIGATION
                                                                                                MDL No. 1917
                                           20      __________________________________
                                                   This Document Relates to Individual Case     AMENDED STIPULATION AND
                                           21      No. 13-CV-00157-SC                           [PROPOSED] ORDER REGARDING
                                                                                                BRIEFING SCHEDULE FOR THOMPSON
                                           22
                                                   TECH DATA CORPORATION; TECH                  DEFENDANTS’ MOTIONS TO STRIKE
                                           23      DATA PRODUCT MANAGEMENT,                     WITH PREJUDICE TECH DATA’S FIRST
                                                   INC.,                                        AMENDED COMPLAINT
                                           24
                                                                  Plaintiffs,                   Judge: Hon. Samuel Conti
                                           25             vs.
                                           26
                                                   HITACHI, LTD; et al.
                                           27
                                                                  Defendants.
                                           28
                                                AMENDED STIPULATION AND [PROPOSED] ORDER                         MASTER FILE NO. 07-5944 SC (N.D. CAL.)
                                                REGARDING BRIEFING SCHEDULE FOR THOMPSON                          INDIVIDUAL CASE NO.: 13-CV-00157 SC
                                                DEFENDANTS’ MOTIONS TO STRIKE WITH PREJUDICE
                                                TECH DATA’S FIRST AMENDED COMPLAINT
                                                     Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 2 of 6



                                            1          Plaintiffs Tech Data Corporation and Tech Data Product Management, Inc. (collectively,

                                            2   “Tech Data”) and Defendants Thomson S.A. (n.k.a. Technicolor S.A.)1 (“Thomson SA”) and

                                            3   Thomson Consumer Electronics, Inc. (n.k.a. Technicolor USA, Inc.) (“Thomson Consumer” and

                                            4   together with Thomson SA, the “Thomson Defendants”) hereby stipulate as follows:

                                            5          WHEREAS, on January 16, 2014 Thomson Consumer filed its Notice of Motion and

                                            6   Motion to Strike With Prejudice Tech Data’s First Amended Complaint [Dkt. No. 2329]

                                            7   (“Thomson Consumer’s Motion to Strike”);

                                            8          WHEREAS, on February 3, 2014 the Court entered an Order [Dkt. No. 2368] extending

                                            9   the deadline: (1) for Tech Data to file its Response to Thomson Consumer’s Motion to Strike

                                           10   until February 20, 2014 and (2) for Thomson Consumer to file its Reply in support of its Motion

                                           11   to Strike until March 6, 2014.
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     1450 Brickell Avenue, Suite 2300




                                           12          WHEREAS, on February 7, 2014 Thomson SA filed its Notice of Motion and Motion to
          Miami, FL 33131-3456




                                           13   Strike With Prejudice Tech Data’s First Amended Complaint [Dkt. No. 2373] (“Thomson SA’s

                                           14   Motion to Strike” and collectively with Thomson Consumer’s Motion to Strike, the “Thomson

                                           15   Defendants’ Motions to Strike”);

                                           16          WHEREAS, Tech Data’s Response to Thomson SA’s Motion to Strike is currently due

                                           17   on February 21, 2014 and Thomson SA’s Reply in support of its Motion to Strike is currently

                                           18   due February 28, 2014;

                                           19          WHEREAS, the parties have agreed to alter the current briefing schedule for the

                                           20   Thomson Defendants’ Motions to Strike to provide for simultaneous deadlines as follows:

                                           21              x   The last day for Tech Data to file its Responses to the Thomson Defendants’

                                           22                  Motions to Strike will be February 27, 2014.

                                           23              x   The last day for the Thomson Defendants’ to file their Reply briefs in support of

                                           24                  their Motions to Strike will be March 13, 2014.

                                           25

                                           26   1
                                                  Specially appearing Defendant Thomson S.A., a French holding company headquartered in
                                           27   Issy-les-Moulineaux, France, contests the Court’s personal jurisdiction over it. By entering into
                                                this Stipulation with Tech Data Thomson S.A. does not waive its right to assert any defenses
                                           28   available to it, including lack of personal jurisdiction.
                                                AMENDED STIPULATION AND [PROPOSED] ORDER            -1-            MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                DEFENDANTS’ MOTIONS TO STRIKE WITH PREJUDICE
                                                TECH DATA’S FIRST AMENDED COMPLAINT
                                                      Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 3 of 6



                                            1           WHEREAS, to accommodate this modification to the briefing schedule on Thomson

                                            2   Consumer’s Motion to Strike, counsel for Tech Data and Thomson Consumer have agreed that

                                            3   the motions hearing on Thomson Consumer’s Motion to Strike should be reset for March 21,

                                            4   2014;

                                            5           NOW, THEREFORE, IT IS HERBY STIPULATED AND AGREED between counsel

                                            6   for Tech Data and the Thomson Defendants as follows:

                                            7           1.     The last day for Tech Data to file its Responses to the Thomson Defendants’

                                            8   Motions to Strike shall be February 27, 2014.

                                            9           2.     The last day for the Thomson Defendants to file their Reply briefs in support of

                                           10   their Motions to Strike shall be March 13, 2014.

                                           11           3.     The motions hearing on Thomson Consumer’s Motion to Strike shall be set for
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                                           12   March 21, 2014.
          Miami, FL 33131-3456




                                           13           IT IS SO STIPULATED.

                                           14           Dated: February 13, 2014.

                                           15

                                           16                                         Respectfully Submitted,

                                           17   By:                                     /s/Scott N. Wagner
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                                           19
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                                                                                        /s/ Philip J. Iovieno
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                                                AMENDED STIPULATION AND [PROPOSED] ORDER           -2-              MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                TECH DATA’S FIRST AMENDED COMPLAINT
                                                      Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 4 of 6


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                                                AMENDED STIPULATION AND [PROPOSED] ORDER         -3-                MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                     Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 5 of 6


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                                            5                                         Attorneys for Specially Appearing Defendant Thomson
                                                                                      S.A. and Defendant Thomson Consumer Electronics, Inc.
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                                                AMENDED STIPULATION AND [PROPOSED] ORDER        -4-                MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                     Case 3:07-cv-05944-JST Document 2400 Filed 02/20/14 Page 6 of 6



                                            1                                      FILER’S ATTESTATION

                                            2          I, Scott N. Wagner, am the ECF user whose identification and password are being used

                                            3   to file this Stipulation. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that concurrence

                                            4   in the filing of this document has been obtained from the signatories above.

                                            5

                                            6                                                                   /s/ Scott N. Wagner
                                                                                                                   Scott N. Wagner
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                                            9   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                                                                           ISTRIC
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                                                                19 2014
                                                Dated: February____,




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